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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



 ZEIKOS, INC.,
                                                       Case No. 1:23-cv-00303
         Plaintiff,
                                                       Hon. Virginia M. Kendall
    v.
                                                       Magistrate Judge Keri L. Holleb Hotaling
 WALGREEN CO.,

         Defendant.


WALGREEN CO.’S OPPOSED MOTION TO COMPEL ZEIKOS, INC. TO PRODUCE
       A PROPER RULE 30(b)(6) WITNESS AND FOR SANCTIONS

         Defendant Walgreen Co. (“Walgreens”), by its undersigned counsel, respectfully moves

this Court to compel Plaintiff Zeikos, Inc. (“Zeikos”) to provide an adequately prepared Rule

30(b)(6) witness and for sanctions.

         On September 30, 2024, Zeikos purported to produce a corporate representative who was,

it turned out, a lawyer who has known Zeikos’ litigation counsel for 15 years but who had never

heard of Zeikos until three weeks ago, and who was paid $500 per hour to be a fact witness.

Predictably, the witness could only parrot the limited information that Zeikos and its counsel had

told him and he could not respond to matters within the deposition topics for which he was not

given information. He had no independent or contextual knowledge about any facts at issue. He

provided not authoritative testimony but could only relay what he “understood” based on what he

had been told. On at least one topic, he admitted he was not comfortable testifying at all and had

done nothing to prepare to do so. On another, he admitted he had been given no information by

Zeikos but had tried to infer an answer based on his own logic. He could not answer basic questions

about the language of the contracts at issue. When he did so, his testimony contradicted itself
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depending on who asked him the question. When Zeikos’ litigation counsel was unhappy with its

paid fact witness testimony, they put him on the phone with Zeikos employees during breaks in

the deposition and re-questioned him themselves to obtain “reformed” testimony based on what

he was told during the breaks. This process and Zeikos’ counsel’s continuous speaking objections

to nearly every question in what was a nearly 8-hour deposition, ending at 7:45 pm Eastern time,

on the date of this filing, made a mockery of Rule 30(b)(6). As such, Zeikos is properly compelled

to produce a properly prepared, knowledgeable and authoritative witness, in Chicago next time, at

its expense.

       Walgreens seeks one week to file a memorandum in support of this motion wherein it will

provide a transcript and specify the topics for which additional testimony from a properly prepared

witness is necessary. Walgreens further seeks attorney’s fees and transcript costs for that second

deposition.

       WHEREFORE, Walgreens moves for an order:

               a. Granting Walgreens to October 7, 2024 to file its memorandum in support of

                   this motion;

               b. Requiring Zeikos to provide a corporate representative witness that is

                   adequately prepared to testify on topics identified in that Memorandum;

               c. Awarding sanctions to Walgreens and against Zeikos in the form of attorney’s

                   fees and costs to take another corporate representative deposition in Chicago;

                   and

               d. Providing such other and further relief as the Court may deem proper.



Dated: September 30, 2024


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                                        WALGREEN CO.

                                        By:   /s/ Robert M. Andalman
                                              One of its Attorneys



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                             CERTIFICATE OF SERVICE

        I, Robert M. Andalman, hereby certify that on September 30, 2024 I caused to be

electronically filed the foregoing WALGREEN CO.’S OPPOSED MOTION TO COMPEL

ZEIKOS, INC. TO PRODUCE A PROPER RULE 30(b)(6) WITNESS AND FOR

SANCTIONS, true and correct copies of which will be served via the Court’s EF/ECM system on

all parties of record.



                                           /s/ Robert M. Andalman




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